                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management conference was scheduled at 1:30 p.m. on September 15, 2011, to consider Plaintiff's appeal. On August 31, 2011, the court sent notice of the scheduled case management conference to Plaintiff at the email address provided by Plaintiff to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiff did not appear, the court might dismiss the appeal.
On September 19, 2011, the court sent Plaintiff a letter which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter stated that if Plaintiff did not provide a written explanation by October 3, 2011, for his failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not submitted a written response to the court explaining his failure to appear at the September 15, 2011, case management conference. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed. Dated this day of October 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to: Fourth Floor,1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Presiding Magistrate Jill A.Tanner on October 10, 2011. The Court filed and entered thisdocument on October 10, 2011. *Page 1 